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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


    United States of America,                         Case No. 21-cr-198 (SRN/TNL)

                        Plaintiff,

    v.                                                             ORDER

    Da’Veyon Armar Williams,

                        Defendant.


         This matter comes before the Court on Defendant Da’Veyon Armar Williams’s

Motion to Continue Motions Filing Deadline and Motions Hearing Date, ECF No. 15.

Defendant also filed a Statement of Facts in Support of Exclusion of Time Under the

Speedy Trial Act, ECF No. 16. Defendant requests a four-week extension of time due

voluminous discovery. ECF No. 15 at 1; see ECF No. 16 at 1. The Government has no

objection to the requested extension. ECF No. 15 at 1.

         Additionally, beginning on March 13, 2020, and continuing thereafter, the

Honorable John R. Tunheim, Chief District Judge for the United States District Court for

the District of Minnesota, has issued a series of General Orders in connection with the

COVID-19 pandemic, addressing, among other things, criminal proceedings and trials. 1

On September 3, 2021, Chief Judge Tunheim entered General Order No. 30, which allows

limited in-person proceedings for defendants who decline to consent to conducting the



1
   All General Orders related to the COVID-19 pandemic may be found on the Court’s website at
https://www.mnd.uscourts.gov/coronavirus-covid-19-guidance.

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proceeding using videoconferencing, or telephone conferencing if videoconferencing is not

reasonably available. See generally In re: Updated Guidance to Court Operations Under

the Exigent Circumstances Created by COVID-19, Gen. Order No. 30 (D. Minn. Sept. 3,

2021). General Order No. 30 states that because only limited in-person proceedings may

be held each day, criminal proceedings may be continued until the date that the criminal

proceeding takes place.

        General Order No. 30 continues to encourage the use of videoconferencing in

criminal proceedings and states that, with the defendant’s consent, criminal proceedings

will be conducted by videoconferencing, or telephone conferencing if videoconferencing

is not reasonably available. 2 General Order No. 30 further provides that the presiding judge

will enter orders in individual cases to extend deadlines and exclude time under the Speedy

Trial Act to address delays attributable to COVID-19. Accordingly, should Defendant

file pretrial motions, counsel shall also file a letter indicating whether Defendant

consents to a motions hearing by videoconference. See also ECF No. 8.

        Pursuant to 18 U.S.C. § 3161(h), this Court finds that the ends of justice served by

granting a continuance outweigh the best interests of the public and Defendant in a speedy

trial and such continuance is necessary to provide Defendant and his counsel reasonable

time necessary for effective preparation and to make efficient use of the parties’ resources.

Based on all the files, records, and proceedings herein, IT IS HEREBY ORDERED that:


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  See also General Order No. 31, which went into effect on September 22, 2021, vacated General Order No. 29, and
extended the Court’s authorization to conduct certain criminal proceedings via video or telephone conference
pursuant to the CARES Act “[b]ecause the emergency created by the COVID-19 outbreak continues to materially
affect the functioning of court operations in the District of Minnesota.” In re: Updated Guidance to Court
Operations Under the Exigent Circumstances Created by COVID-19, Gen. Order No. 31 (D. Minn. Sept. 16, 2021).

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       1.       Defendant’s Motion to Continue Motions Filing Deadline and Motions

Hearing Date, ECF No. 15, is GRANTED.

       2.       The period of time from October 20 through December 15, 2021, shall be

excluded from Speedy Trial Act computations in this case.

       3.       All motions in the above-entitled case shall be filed and served consistent

with Federal Rules of Criminal Procedure 12(b) and 47 on or before November 18, 2021.

D. Minn. LR 12.1(c)(1). Two courtesy copies of all motions and responses shall be

delivered directly to the chambers of Magistrate Judge Leung.

       4.       Should Defendant file pretrial motions, counsel shall also file a letter on

or before November 18, 2021, indicating whether Defendant consents to a motions

hearing by videoconference. See ECF No. 8.

       5.       Counsel shall electronically file a letter on or before November 18, 2021, if

no motions will be filed and there is no need for hearing.

       6.       All responses to motions shall be filed by December 2, 2021. D. Minn. LR

12.1(c)(2).

       7.       Any Notice of Intent to Call Witnesses shall be filed by December 2, 2021.

D. Minn. LR. 12.1(c)(3)(A).

       8.       Any Responsive Notice of Intent to Call Witnesses shall be filed by

December 7, 2021. D. Minn. LR 12.1(c)(3)(B).

       9.       A motions hearing will be held pursuant to Federal Rules of Criminal

Procedure 12(c) where:



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            a.     The government makes timely disclosures and a defendant pleads
                   particularized matters for which an evidentiary hearing is necessary;
                   or

            b.     Oral argument is requested by either party in its motion, objection or
                   response pleadings.

      10.   If required, the motions hearing shall take place before the undersigned

on December 15, 2021, at 1:00 p.m., in Courtroom 9W, Diana E. Murphy U.S.

Courthouse, 300 South Fourth Street, Minneapolis, Minnesota. D. Minn. LR 12.1(d).

      11.   TRIAL: The trial date, and other related dates, will be rescheduled

following the ruling on pretrial motions. Counsel must contact the Courtroom

Deputy for District Judge Susan Richard Nelson to confirm the new trial date.




Dated: October 27 , 2021                              s/ Tony N. Leung
                                               TONY N. LEUNG
                                               United States Magistrate Judge
                                               District of Minnesota


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